                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


         JASON JENNINGS MELTON,
                      Petitioner,
              v.                                               Nos. 3:10-cr-126, 3:18-cv-347
                                                               Judge Phillips
         UNITED STATES OF AMERICA,
                      Respondent.


                       MOTION FOR EXTENSION NUNC PRO TUNC

         The United States of America hereby requests an extension of 120 days, nunc pro tunc,

  in which to respond to petitioner’s motion pursuant to 28 U.S.C. § 2255.

         On August 18, 2018, petitioner filed a motion under 28 U.S.C. § 2255 which purported to

  rely upon Johnson v. United States, 135 S. Ct. 2551 (2015). (R. 131, § 2255 Memorandum.)

  Because petitioner cited Johnson, the response of the United States was due on September 17,

  2018, pursuant to Standing Order 16-02. The undersigned attorney was assigned to prepare the

  response, because the attorney who initially prosecuted petitioner transferred to another job in

  another state. Although the undersigned attorney promptly filed a motion for substitution, she

  inadvertently overlooked the response deadline, due to the volume of other cases she was then

  handling. Indeed, since petitioner filed his motion, the undersigned attorney has written more

  than 40 other § 2255 responses and approximately one dozen appellate briefs, in addition to

  editing several dozen briefs, motions, and responses by other attorneys.

         The United States remains committed to timely discharging its obligations to the Court

  and the interests of justice, and the undersigned attorney deeply regrets having missed the

  deadline in this case. She has remedied her earlier omission by preparing and filing a response




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  contemporaneously with this motion. An extension of 120 days, nunc pro tunc—that is, up to

  January 15, 2019—would render that response timely filed.

                                                       Respectfully submitted,

                                                       J. Douglas Overbey
                                                       United States Attorney

                                                By:    s/ Debra A. Breneman
                                                       Debra A. Breneman
                                                       Assistant United States Attorney



                                  CERTIFICATE OF SERVICE

         I certify that on January 15, 2019, this response was filed electronically and that a true

  copy was sent to petitioner by regular United States mail, postage prepaid, addressed as follows:

         Jason Jennings Melton
         Reg. No. 43171-074
         U.S.P. Canaan
         P.O. Box 300
         Waymart, PA 18472
                                                       s/ Debra A. Breneman
                                                       Debra A. Breneman
                                                       Assistant United States Attorney




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